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12   Attorneys for Debtors and Debtors in Possession

13                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
14                                    SAN FRANCISCO DIVISION
15
                                                  Case No. 19-30088 (DM)
16
       In re:                                     Chapter 11
17
       PG&E CORPORATION,                          (Lead Case) (Jointly Administered)
18
                - and -                           NOTICE OF APPEAL AND STATEMENT OF
19                                                ELECTION TO HAVE APPEAL HEARD BY
       PACIFIC GAS AND ELECTRIC                   DISTRICT COURT
20     COMPANY,

21                                   Debtors.
22      Affects PG&E Corporation
        Affects Pacific Gas and Electric
23     Company
        Affects both Debtors
24
       * All papers shall be filed in the Lead
25     Case, No. 19-30088 (DM).
26

27

28

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 1                  NOTICE IS HEREBY GIVEN that PG&E Corporation (“PG&E Corp.”) and

 2   Pacific Gas and Electric Company (the “Utility”), as debtors and debtors in possession

 3   (collectively, “PG&E” or the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter

 4   11 Cases”), hereby appeal, pursuant to 28 U.S.C. § 158(a)(1), from the Order Granting the

 5   Motion of the Official Committee of Tort Claimants for Relief from the Automatic Stay filed

 6   August 21, 2019 [Docket No. 3644] and the Order Granting the Motion of the Ad Hoc Group of

 7   Subrogation Claim Holders for Relief from the Automatic Stay filed August 21, 2019 [Docket

 8   No. 3643] (together, the “Orders”), and the related Memorandum Decision Regarding Motions

 9   for Relief from Stay filed August 16, 2019 [Docket No. 3571] (the “Memorandum”). Copies of

10   the foregoing are attached hereto as Exhibit A, Exhibit B, and Exhibit C, respectively.

11                  Pursuant to 28 U.S.C. § 158(c)(1), the Debtors hereby elect to have the appeal heard

12   by the United States District Court for the Northern District of California (the “District Court”)

13   rather than by the Bankruptcy Appellate Panel for the Ninth Circuit.

14                  The Debtors have filed this notice in an abundance of caution to preserve their rights.

15   The District Court, pursuant to 28 U.S.C. § 157(d) and the Order Adopting Recommendation for

16   Withdrawal of Reference of Proceeding in Part; Order of Assignment filed August 22, 2019

17   [Docket No. 3671], has withdrawn the reference from the Bankruptcy Court presiding over these

18   Chapter 11 Cases with respect to, among other things, the “method of conduct of the estimation

19   proceedings”. The estimation proceedings have been assigned to United States District Court Judge

20   James Donato. In light of that withdrawal, the considerations that caused the Bankruptcy Court to

21   lift the automatic stay have changed, and the Debtors intend to file a motion before the District

22   Judge Donato to reinstate the automatic stay based on the new circumstances. The Bankruptcy

23   Court’s decision to lift the stay was based on a finding that the result of a state court trial would

24   offer an “important data point” that would provide “guidance . . . in [the Bankruptcy] court’s

25   estimation proceedings”. (Dkt. No. 3571 at 3). However, since those proceedings will now occur

26   in the District Court before Judge Donato, the District Court is best situated to determine whether

27   lifting the stay will serve the estimation process. The Debtors accordingly do not believe an appeal

28   of the Bankruptcy Court’s order lifting the stay is necessary or the right vehicle to address this


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 1   issue, but are filing this Notice of Appeal until the parties have an opportunity to confer with the

 2   District Court about the appropriate path forward in light of the recent withdrawal of the reference.

 3                  The names of all parties to the Order and Memorandum other than the Debtors, and

 4   the names, addresses, and telephone numbers of their attorneys, are:

 5

 6          Moving Party              Counsel
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19

20   For group parties denoted with “*”, please see Exhibit D hereto for a detailed list identifying
21   members of the group.

22   Dated: September 4, 2019                   CRAVATH, SWAINE & MOORE LLP
                                                WEIL, GOTSHAL & MANGES LLP
23
                                                KELLER & BENVENUTTI LLP
24
                                                By: /s/ Paul H. Zumbro
25                                                     Paul H. Zumbro

26                                              Attorneys for Debtors and Debtors in Possession

27

28


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                                                                          Entered on Docket
                                                                          August 21, 2019
                                                                          EDWARD J. EMMONS, CLERK
                                                                          U.S. BANKRUPTCY COURT
                                                                          NORTHERN DISTRICT OF CALIFORNIA

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                                Cecily A. Dumas (SBN 111449)           Signed and Filed: August 21, 2019
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                           11
                                Counsel for Official Committee of Tort Claimants
B AKER & H OSTETLER LLP




                           12
   A TTORNEYS AT L A W
     S AN F RANCISCO




                           13                            UNITED STATES BANKRUPTCY COURT
                                                         NORTHERN DISTRICT OF CALIFORNIA
                           14                                 SAN FRANCISCO DIVISION
                           15   In re:                                             Bankruptcy Case
                                                                                   No. 19-30088 (DM)
                           16   PG&E CORPORATION
                                                                                   Chapter 11
                           17            -and-                                     (Lead Case)
                                                                                   (Jointly Administered)
                           18   PACIFIC GAS AND ELECTRIC
                                COMPANY,
                           19                       Debtors.                       ORDER GRANTING THE MOTION OF
                                                                                   THE OFFICIAL COMMITTEE OF
                           20   □ Affects PG&E Corporation                         TORT CLAIMANTS FOR RELIEF
                                                                                   FROM AUTOMATIC STAY
                           21   □ Affects Pacific Gas and Electric Company

                           22   ■ Affects both Debtors

                           23   *All papers shall be filed in the Lead Case,
                                No. 19-30088 (DM)
                           24

                           25

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                          Case:
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                            1             The Official Committee of Tort Claimants (the “TCC”), on July 2, 2019, filed a motion
                            2   (the “Motion”) (Dkt. No. 2842), 1 pursuant to section 362(d)(1) of title 11 of the United States Code
                            3   (the “Bankruptcy Code”), sections 1334(c) and 1452(b) of title 28, Rules 4001 and 5011(b) of the
                            4   Federal Rules of Bankruptcy Procedure and Rule 4004-1 of the Bankruptcy Local Rules for the
                            5   United States District Court for the Northern District of California for entry of an order terminating
                            6   the automatic stay to permit certain individuals to proceed to a jury trial on their personal injury
                            7   and property damage claims against the Debtors arising from the 2017 Tubbs Fire in the California
                            8   Superior Court, and to request the Court in the California North Bay Fire Cases, JCCP 4955, to
                            9   order the claims of those individuals to proceed to a jury trial with preference pursuant to Code of
                           10   Civil Procedure section 36. On July 9, 2019, the TCC filed an amendment to the Motion to include
                           11   a number of individuals with personal injury, wrongful death and property damage claims, as listed
B AKER & H OSTETLER LLP




                           12
   A TTORNEYS AT L A W




                                on Exhibit A hereto (the “Tubbs Preference Plaintiffs”) (Dkt. No. 2904).
     S AN F RANCISCO




                           13             The following joinders were filed to the Motion: (1) the joinder by Co-Lead Counsel to the
                           14   North Bay Fire Cases, dated July 2, 2019 (Dkt. No. 2850); (2) the joinder by Barbara Thompson,
                           15   John Thompson, Matthew Thompson, Peter Thompson, Raymond Breitenstein, and Stephen
                           16   Breitenstein, dated July 3, 2019 (Dkt. No. 2861); (3) the joinder by John Caslin and Phyllis Lowe,
                           17   dated July 11, 2019 (Dkt. No. 2929); (4) the joinder by William Edelen, Roxanne Edelen, The
                           18   William L. Edelen and Roxanne G. Edelen Trust Agreement Dated June 22, 2011, Burton Fohrman,

                           19   Raleigh Fohrman, The Fohrman Family Trust Dated February 3, 1976, Jeremy Olsan, Ann DuBay,

                           20   Jacob Olsan, the Jeremy L. Olsan and Ann M. DuBay Trust Dated November 29, 2011, Kathleen

                           21   Groppe, Ken Kirven, Brian Kirven, and the Estate of Monte Kirven, dated July 11, 2019 (Dkt. No.

                           22   2930); (5) the joinder by Don Louis Kamprath, Ruth Kamprath, the Donald L. Kamprath and Ruth
                           23   Johnson Kamprath Revocable Trust, Elizabeth Fourkas, Pete Fourkas, Alissa Fourkas, the Fourkas
                           24   Family Trust, Greg Wilson, and Christina Wilson, dated July 11, 2019 (Dkt. No. 2942); (7) the
                           25   joinder by Armando A. Berriz, Armando J. Berriz, Carmen T. Meissner, Monica Berriz, and the
                           26   Estate of Carmen Caldentey Berriz, dated July 11, 2019 (Dkt. No. 2943); and (8) the joinder by the
                           27
                                1
                                    Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion.
                           28                                                            -2-


                          Case:
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                            1   Singleton Law Firm Victim Claimants, dated July 18, 2019, to add the individuals listed on
                            2   Exhibit B hereto (Dkt. No. 3067).
                            3           The Ad Hoc Group of Subrogation Claim Holders 2, on July 3, 2019, filed a Motion for
                            4   Relief from the Automatic Stay, dated July 3, 2019 (the “Subrogation Motion”) (Dkt. No. 2863).
                            5   The following joinders were filed to the Subrogation Motion: (1) the joinder filed on behalf of
                            6   AMICA Mutual Insurance Company, BG Resolution Partners I-A, L.L.C. (an Affiliate of The
                            7   Baupost Group, L.L.C.), Encompass Insurance Company, Fire Insurance Exchange, Hartford
                            8   Accident & Indemnity Company, Liberty Insurance Corporation, Mercury Insurance, Nationwide
                            9   Mutual Insurance Company, and United Services Automobile Association, dated July 12, 2019
                           10   (Dkt. No. 2959) (the “July 12 Joinder”); and (2) the joinder by State Farm Mutual Automobile
                           11   Insurance Company and its affiliates and subsidiaries, dated July 15, 2019 (Dkt. No. 2983) (the
B AKER & H OSTETLER LLP




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                                “July 15 Joinder”). The parties to the July 12 Joinder and the July 15 Joinder are collectively
     S AN F RANCISCO




                           13   referred to herein as the “Subrogation Joining Parties.”
                           14           On July 19, 2019, the following papers were filed in opposition to the Motion and the
                           15   Subrogation Motion: (1) the Debtors filed an objection (Dkt. No. 3104) and the declaration of
                           16   Kevin J. Orsini in support thereof (Dkt. No. 3105); (2) the Official Committee of Unsecured
                           17   Creditors filed an objection (Dkt. No. 3101) and the declaration of Thomas R. Kreller in support
                           18   thereof (Dkt. No. 3102); (3) the Ad Hoc Committee of Senior Unsecured Noteholders filed a joinder
                           19   to the Official Committee of Unsecured Creditors’ objection (Dkt. No 3106); and (4) certain PG&E
                           20   shareholders filed an objection (Dkt. No. 3108).
                           21           On August 7, 2019, Barbara Thompson, John Thompson, Matthew Thompson, Peter
                           22   Thompson, Raymond Breitenstein and Stephen Breitenstein filed a reply in support of their joinder
                           23   in the Motion (Dkt. No. 3407), Sonoma Clean Power Authority filed a statement and a reservation
                           24   of rights on the Motion and the Subrogation Motion (Dkt. No. 3415), and the Singleton Law Firm
                           25   Victim Claimants filed a response in support of the Motion (Dkt. No. 3449).
                           26
                                2
                                 The Ad Hoc Group of Subrogation Claim Holders includes all of the members listed on Exhibit A to the Third
                           27   Amended Verified Statement of the Ad Hoc Group of Subrogation Claim Holders filed on July 17, 2019 (Dkt. No.
                                3020).
                           28                                                        -3-


                          Case:
                          Case:19-30088
                          Case: 19-30088 Doc#
                                19-30088 Doc#3825-1
                                         Doc# 3644     Filed:
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                            1          On August 14, 2019, the Court held a hearing on the Motion, the Subrogation Motion, and
                            2   the joinders thereto. The Court considered the Motion, the declarations of Steven M. Campora,
                            3   Robert A. Julian, and Brent C. Williams, the amended declaration of Michael A. Kelly, the joinders
                            4   to the Motion, the replies in support of the Motion, the Subrogation Motion, the declaration of
                            5   Benjamin P. McCallen, the joinders to the Subrogation Motion, the oppositions of the Debtors, the
                            6   Official Committee of Unsecured Creditors, the Ad Hoc Committee of Senior Unsecured
                            7   Noteholders, and the PG&E shareholders, and the declarations of Kevin J. Orsini and Thomas R.
                            8   Kreller. On August 16, 2019, the Court issued its Decision Regarding Motions for Relief from
                            9   Stay (“Memorandum Decision”) (Dkt. No. 3571).
                           10          Now therefore, the Court having considered the papers and the argument of counsel at the
                           11   hearing, and for the reasons stated in the Memorandum Decision, IT IS HEREBY ORDERED
B AKER & H OSTETLER LLP




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                                THAT:
     S AN F RANCISCO




                           13          1.      The Motion and the joinders thereto are granted and the automatic stay is terminated
                           14   as to the alleged preference plaintiffs listed on Exhibits A and B hereto, to take any actions
                           15   necessary or appropriate to prosecute their claims against the Debtors arising solely from the 2017
                           16   Tubbs Fire as set forth in the Complaints against the Debtors, attached to the Motion, and as may
                           17   be amended, to judgment, and to request the California Superior Court in the California North Bay
                           18   Fire Cases, JCCP 4955, to order the Tubbs Preference Plaintiffs’ claims to trial with preference
                           19   pursuant to Code of Civil Procedure section 36.
                           20          2.      The automatic stay shall remain in full force and effect for all other purposes
                           21   including with respect to the enforcement of any judgment that may be obtained by reason of the
                           22   termination of the automatic stay as provided above.
                           23          3.      Notwithstanding Bankruptcy Rule 4001(a)(3), or any other Bankruptcy Rule, this
                           24   Order shall be immediately effective and enforceable upon its entry.
                           25          4.      This Court shall retain jurisdiction to hear and determine all matters arising from or
                           26   related to the implementation, interpretation, or enforcement of this Order.
                           27
                                                                     ** END OF ORDER **
                           28                                                   -4-


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                            1                                            EXHIBIT A
                            2   Alleged Tubbs Preference Plaintiffs Identified in the Motion and Alleged Indispensable
                                Parties Thereto
                            3
                                Barbara Thompson (Joinder Dkt. No. 2861)
                            4
                                       Indispensable Party: John Thompson (Joinder Dkt. No. 2861)
                            5
                                       Indispensable Party: Matthew Thompson (Joinder Dkt. No. 2861)
                            6
                                       Indispensable Party: Peter Thompson (Joinder Dkt. No. 2861)
                            7
                                Raymond Breitenstein (Joinder Dkt. No. 2861)
                            8
                                       Indispensable Party: Stephen Breitenstein (Joinder Dkt. No. 2861)
                            9
                                John Caslin (Joinder Dkt. No. 2929)
                           10
                                Phyllis Lowe (Joinder Dkt. No. 2929)
                           11
                                William Edelen (Joinder Dkt. No. 2930)
B AKER & H OSTETLER LLP




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                                       Indispensable Party: Roxanne Edelen (Joinder Dkt. No. 2930)
                           13
                                       Indispensable Party: The William L. Edelen and Roxanne G. Edelen Trust Agreement
                           14          Dated June 22, 2011 (Joinder Dkt. No. 2930)
                           15   Burton Fohrman (Joinder Dkt. No. 2930)
                           16          Indispensable Party: Raleigh Fohrman (Joinder Dkt. No. 2930)
                           17          Indispensable Party: The Fohrman Family Trust Dated February 3, 1976 (Joinder Dkt.
                                       No. 2930)
                           18
                                       Indispensable Party: Jeremy Olsan (Joinder Dkt. No. 2930)
                           19
                                       Indispensable Party: Ann DuBay (Joinder Dkt. No. 2930)
                           20
                                       Indispensable Party: Jacob Olsan (Joinder Dkt. No. 2930)
                           21
                                       Indispensable Party: The Jeremy L. Olsan and Ann M. DuBay Trust Dated November 29,
                           22          2011 (Joinder Dkt. No. 2930)
                           23   Heirs of decedent Monte Kirven (Kathleen Groppe, Ken Kirven and Brian Kirven) (Joinder Dkt.
                                No. 2930)
                           24
                                       Indispensable Party: Kathleen Groppe (Joinder Dkt. No. 2930)
                           25
                                       Indispensable Party: Ken Kirven (Joinder Dkt. No. 2930)
                           26
                                       Indispensable Party: Brian Kirven (Joinder Dkt. No. 2930)
                           27
                                       Indispensable Party: The Estate of Monte Kirven (Joinder Dkt. No. 2930)
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                            1
                                Don Louis Kamprath (Joinder Dkt. No. 2942)
                            2
                                       Indispensable Party: Ruth Kamprath (Joinder Dkt. No. 2942)
                            3
                                       Indispensable Party: The Donald L. Kamprath and Ruth Johnson Kamprath Revocable
                            4          Trust (Joinder Dkt. No. 2942)
                            5   Elizabeth Fourkas (Joinder Dkt. No. 2942)
                            6          Indispensable Party: Pete Fourkas (Joinder Dkt. No. 2942)
                            7          Indispensable Party: Alissa Fourkas (Joinder Dkt. No. 2942)
                            8          Indispensable Party: The Fourkas Family Trust (Joinder Dkt. No. 2942)
                            9   Greg Wilson (Joinder Dkt. No. 2942)
                           10   Christina Wilson (Joinder Dkt. No. 2942)
                           11   Armando A. Berriz (Joinder Dkt. No. 2943)
B AKER & H OSTETLER LLP




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                                Heirs of Carmen Caldentey Berriz (Armando J. Berriz, Carmen T. Meissner, Monica Berriz)
     S AN F RANCISCO




                                (Joinder Dkt. No. 2943)
                           13
                                       Indispensable Party: The Estate of Carmen Caldentey Berriz (Joinder Dkt. No. 2943)
                           14
                                       Indispensable Party: Armando J. Berriz (Joinder Dkt. No. 2943)
                           15
                                       Indispensable Party: Carmen T. Meissner (Joinder Dkt. No. 2943)
                           16
                                       Indispensable Party: Monica Berriz (Joinder Dkt. No. 2943)
                           17

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                            1                                           Exhibit B
                            2   Preference Plaintiffs Identified in Joinder of Singleton Law Firm Victim Claimants (Dkt.
                                No. 3067)
                            3
                                Thomas Milton Howard
                            4
                                Catherine Maffioli
                            5
                                Glenda Samson
                            6
                                Barbara Spengler
                            7
                                Evelyn Venturi
                            8

                            9

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B AKER & H OSTETLER LLP




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                            1                                        SERVICE LIST
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                            3   U.S. Nuclear Regulatory Commission
                                Attn: General Counsel
                            4   Washington, D.C. 20555‐0001
                            5   PG&E Corporation and
                                Pacific Gas and Electric Company
                            6   Attn: Janet Loduca
                                77 Beale Street
                            7   P.O. Box 770000
                                San Francisco, CA 94105
                            8

                            9

                           10

                           11
B AKER & H OSTETLER LLP




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                                                    Notice Recipients
District/Off: 0971−3                      User: bgapuz                         Date Created: 8/21/2019
Case: 19−30088                            Form ID: pdfeoc                      Total: 3


Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          PG&E Corporation         77 Beale Street       P.O. Box 770000     San Francisco, CA 94177
            U.S. Nuclear Regulatory Commission         Attn: General Counsel     Washington, D.C. 205550001
            PG&E Corporation and         Pacific Gas and Electric Company      Attn: Janet Loduca     77 Beale
            Street      P.O. Box 770000         San Francisco, CA 94105
                                                                                                                 TOTAL: 3




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                                                  August 21, 2019
                                                  EDWARD J. EMMONS, CLERK
                                                  U.S. BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF CALIFORNIA


 1   DIEMER & WEI, LLP
                                                Signed and Filed: August 21, 2019
 2   Kathryn S. Diemer (#133977)
     100 West San Fernando Street, Suite 555
 3   San Jose, CA 95113
     Telephone: (408) 971-6270                  ________________________________________
 4                                              DENNIS MONTALI
     Facsimile: (408) 971-6271                  U.S. Bankruptcy Judge
 5   Email: kdiemer@diemerwei.com

 6   WILLKIE FARR & GALLAGHER LLP
 7   Matthew A. Feldman (pro hac vice)
     Joseph G. Minias (pro hac vice)
 8   Benjamin P. McCallen (pro hac vice)
     787 Seventh Avenue
 9
     New York, NY 10019-6099
10   Telephone: (212) 728-8000
     Facsimile: (212) 728-8111
11   Email: mfeldman@willkie.com
            jminias@willkie.com
12          bmccallen@willkie.com
13   Counsel for Ad Hoc Group of Subrogation
     Claim Holders
14

15                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF CALIFORNIA
16                                SAN FRANCISCO DIVISION
17   In re:                                    Case No. 19-30088
18   PG&E CORPORATION,                         Chapter 11

19                                             (Lead Case)
              - and -
                                               (Jointly Administered)
20   PACIFIC GAS AND ELECTRIC
     COMPANY,                                  ORDER GRANTING THE MOTION OF THE
21                        Debtors.             AD HOC GROUP OF SUBROGATION CLAIM
                                               HOLDERS FOR RELIEF FROM THE
22                                             AUTOMATIC STAY
     ☐ Affects PG&E Corporation
23
     ☐ Affects Pacific Gas and Electric
24   Company
      Affects both Debtors
25

26   *All papers shall be filed in the lead
     case, No. 19-30088 (DM)
27
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     Case:
     Case:19-30088
     Case: 19-30088 Doc#
           19-30088 Doc#3825-1
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 1             The Official Committee of Tort Claimants (the “TCC”), on July 2, 2019, filed a motion
 2       (the “Motion”) (Dkt. No. 2842),1 pursuant to section 362(d)(1) of title 11 of the United States
 3       Code (the “Bankruptcy Code”), sections 1334(c) and 1452(b) of title 28, Rules 4001 and
 4       5011(b) of the Federal Rules of Bankruptcy Procedure and Rule 4004-1 of the Bankruptcy

 5       Local Rules for the United States District Court for the Northern District of California for entry

 6       of an order terminating the automatic stay to permit certain individuals to proceed to a jury trial

 7       on their personal injury and property damage claims against the Debtors arising from the 2017

 8       Tubbs Fire in the California Superior Court, and to request the Court in the California North

 9       Bay Fire Cases, JCCP 4955, to order the claims of those individuals to proceed to a jury trial

10       with preference pursuant to Code of Civil Procedure section 36. On July 9, 2019, the TCC filed

11       an amendment to the Motion to include a number of individuals with personal injury, wrongful

12       death and property damage claims, as listed on Exhibit A hereto (the “Tubbs Preference
13       Plaintiffs”) (Dkt. No. 2904).
14             The following joinders were filed to the Motion: (1) the joinder by Co-Lead Counsel to

15       the North Bay Fire Cases, dated July 2, 2019 (Dkt. No. 2850); (2) the joinder by Barbara

16       Thompson, John Thompson, Matthew Thompson, Peter Thompson, Raymond Breitenstein, and

17       Stephen Breitenstein, dated July 3, 2019 (Dkt. No. 2861); (3) the joinder by John Caslin and

18       Phyllis Lowe, dated July 11, 2019 (Dkt. No. 2929); (4) the joinder by William Edelen, Roxanne
19       Edelen, The William L. Edelen and Roxanne G. Edelen Trust Agreement Dated June 22, 2011,

20       Burton Fohrman, Raleigh Fohrman, The Fohrman Family Trust Dated February 3, 1976, Jeremy

21       Olsan, Ann DuBay, Jacob Olsan, the Jeremy L. Olsan and Ann M. DuBay Trust Dated

22       November 29, 2011, Kathleen Groppe, Ken Kirven, Brian Kirven, and the Estate of Monte

23       Kirven, dated July 11, 2019 (Dkt. No. 2930); (5) the joinder by Don Louis Kamprath, Ruth

24       Kamprath, the Donald L. Kamprath and Ruth Johnson Kamprath Revocable Trust, Elizabeth

25       Fourkas, Pete Fourkas, Alissa Fourkas, the Fourkas Family Trust, Greg Wilson, and Christina

26
     1
27       Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion.

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     Case: 19-30088 Doc#
           19-30088 Doc#3825-1
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 1       Wilson, dated July 11, 2019 (Dkt. No. 2942); (7) the joinder by Armando A. Berriz, Armando J.

 2       Berriz, Carmen T. Meissner, Monica Berriz, and the Estate of Carmen Caldentey Berriz, dated

 3       July 11, 2019 (Dkt. No. 2943); and (8) the joinder by the Singleton Law Firm Victim Claimants,

 4       dated July 18, 2019, to add the individuals listed on Exhibit B hereto (Dkt. No. 3067).
 5             The Ad Hoc Group of Subrogation Claim Holders2, on July 3, 2019, filed a Motion for

 6       Relief from the Automatic Stay, dated July 3, 2019 (the “Subrogation Motion”) (Dkt. No.
 7       2863). The following joinders were filed to the Subrogation Motion: (1) the joinder filed on

 8       behalf of AMICA Mutual Insurance Company, BG Resolution Partners I-A, L.L.C. (an Affiliate

 9       of The Baupost Group, L.L.C.), Encompass Insurance Company, Fire Insurance Exchange,

10       Hartford Accident & Indemnity Company, Liberty Insurance Corporation, Mercury Insurance,

11       Nationwide Mutual Insurance Company, and United Services Automobile Association, dated

12       July 12, 2019 (Dkt. No. 2959) (the “July 12 Joinder”); and (2) the joinder by State Farm
13       Mutual Automobile Insurance Company and its affiliates and subsidiaries, dated July 15, 2019

14       (Dkt. No. 2983) (the “July 15 Joinder”). The parties to the July 12 Joinder and the July 15
15       Joinder are collectively referred to herein as the “Subrogation Joining Parties.”
16             On July 19, 2019, the following papers were filed in opposition to the Motion and the

17       Subrogation Motion: (1) the Debtors filed an objection (Dkt. No. 3104) and the declaration of

18       Kevin J. Orsini in support thereof (Dkt. No. 3105); (2) the Official Committee of Unsecured
19       Creditors filed an objection (Dkt. No. 3101) and the declaration of Thomas R. Kreller in support

20       thereof (Dkt. No. 3102); (3) the Ad Hoc Committee of Senior Unsecured Noteholders filed a

21       joinder to the Official Committee of Unsecured Creditors’ objection (Dkt. No 3106); and (4)

22       certain PG&E shareholders filed an objection (Dkt. No. 3108).

23             On August 7, 2019, Barbara Thompson, John Thompson, Matthew Thompson, Peter

24       Thompson, Raymond Breitenstein and Stephen Breitenstein filed a reply in support of their

25

26
     2
      The Ad Hoc Group of Subrogation Claim Holders includes all of the members listed on Exhibit A to the Third
27   Amended Verified Statement of the Ad Hoc Group of Subrogation Claim Holders filed on July 17, 2019 (Dkt. No.
     3020).
28

     Case:
     Case:19-30088
     Case: 19-30088 Doc#
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 1    joinder in the Motion (Dkt. No. 3407), Sonoma Clean Power Authority filed a statement and a

 2    reservation of rights on the Motion and the Subrogation Motion (Dkt. No. 3415), and the

 3    Singleton Law Firm Victim Claimants filed a response in support of the Motion (Dkt. No.

 4    3449).

 5             On August 14, 2019, the Court held a hearing on the Motion, the Subrogation Motion,

 6    and the joinders thereto. The Court considered the Motion, the declarations of Steven M.

 7    Campora, Robert A. Julian, and Brent C. Williams, the amended declaration of Michael A.

 8    Kelly, the joinders to the Motion, the replies in support of the Motion, the Subrogation Motion,

 9    the declaration of Benjamin P. McCallen, the joinders to the Subrogation Motion, the

10    oppositions of the Debtors, the Official Committee of Unsecured Creditors, the Ad Hoc

11    Committee of Senior Unsecured Noteholders, and the PG&E shareholders, and the declarations

12    of Kevin J. Orsini and Thomas R. Kreller. On August 16, 2019, the Court issued its Decision

13    Regarding Motions for Relief from Stay (“Memorandum Decision”) (Dkt. No. 3571).
14             Now therefore, the Court having considered the papers and the argument of counsel at the

15    hearing, and for the reasons stated in the Memorandum Decision, IT IS HEREBY ORDERED
16    THAT:
17             1.     The Subrogation Motion and the joinders thereto are granted and the automatic

18   stay is terminated as requested in the Subrogation Motion to allow the members of the Ad Hoc
19   Group of Subrogation Claim Holders, including the Subrogation Joining Parties, and the

20   respective insurers for the preference plaintiffs listed on Exhibits A and B hereto, to pursue to

21   judgment their claims against the Debtors regarding the issue of the Debtors’ liability for the

22   Tubbs Fire in the California Superior Court, where the claims are currently pending in JCCP

23   4955.

24             2.     The automatic stay shall remain in full force and effect for all other purposes

25   including with respect to the enforcement of any judgment that may be obtained by reason of the

26   termination of the automatic stay as provided above.
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     Case:19-30088
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           19-30088 Doc#3825-1
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 1          3.      Notwithstanding Bankruptcy Rule 4001(a)(3), or any other Bankruptcy Rule, this

 2   Order shall be immediately effective and enforceable upon its entry.

 3          4.      This Court shall retain jurisdiction to hear and determine all matters arising from

 4   or related to the implementation, interpretation, or enforcement of this Order.

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 6                                       *** END OF ORDER ***

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 1                                            EXHIBIT A
 2
     Alleged Tubbs Preference Plaintiffs Identified in the Motion and Alleged Indispensable
 3   Parties Thereto

 4   Barbara Thompson (Joinder Dkt. No. 2861)

 5          Indispensable Party: John Thompson (Joinder Dkt. No. 2861)

 6          Indispensable Party: Matthew Thompson (Joinder Dkt. No. 2861)

 7          Indispensable Party: Peter Thompson (Joinder Dkt. No. 2861)

 8   Raymond Breitenstein (Joinder Dkt. No. 2861)

 9          Indispensable Party: Stephen Breitenstein (Joinder Dkt. No. 2861)

10   John Caslin (Joinder Dkt. No. 2929)

11   Phyllis Lowe (Joinder Dkt. No. 2929)

12   William Edelen (Joinder Dkt. No. 2930)

13          Indispensable Party: Roxanne Edelen (Joinder Dkt. No. 2930)

14          Indispensable Party: The William L. Edelen and Roxanne G. Edelen Trust Agreement
            Dated June 22, 2011 (Joinder Dkt. No. 2930)
15
     Burton Fohrman (Joinder Dkt. No. 2930)
16
            Indispensable Party: Raleigh Fohrman (Joinder Dkt. No. 2930)
17
            Indispensable Party: The Fohrman Family Trust Dated February 3, 1976 (Joinder Dkt.
18          No. 2930)

19          Indispensable Party: Jeremy Olsan (Joinder Dkt. No. 2930)

20          Indispensable Party: Ann DuBay (Joinder Dkt. No. 2930)

21          Indispensable Party: Jacob Olsan (Joinder Dkt. No. 2930)

22          Indispensable Party: The Jeremy L. Olsan and Ann M. DuBay Trust Dated November
            29, 2011 (Joinder Dkt. No. 2930)
23
     Heirs of decedent Monte Kirven (Kathleen Groppe, Ken Kirven and Brian Kirven) (Joinder Dkt.
24   No. 2930)

25          Indispensable Party: Kathleen Groppe (Joinder Dkt. No. 2930)

26          Indispensable Party: Ken Kirven (Joinder Dkt. No. 2930)

27          Indispensable Party: Brian Kirven (Joinder Dkt. No. 2930)

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 1          Indispensable Party: The Estate of Monte Kirven (Joinder Dkt. No. 2930)

 2   Don Louis Kamprath (Joinder Dkt. No. 2942)

 3          Indispensable Party: Ruth Kamprath (Joinder Dkt. No. 2942)

 4          Indispensable Party: The Donald L. Kamprath and Ruth Johnson Kamprath Revocable
            Trust (Joinder Dkt. No. 2942)
 5
     Elizabeth Fourkas (Joinder Dkt. No. 2942)
 6
            Indispensable Party: Pete Fourkas (Joinder Dkt. No. 2942)
 7
            Indispensable Party: Alissa Fourkas (Joinder Dkt. No. 2942)
 8
            Indispensable Party: The Fourkas Family Trust (Joinder Dkt. No. 2942)
 9
     Greg Wilson (Joinder Dkt. No. 2942)
10
     Christina Wilson (Joinder Dkt. No. 2942)
11
     Armando A. Berriz (Joinder Dkt. No. 2943)
12
     Heirs of Carmen Caldentey Berriz (Armando J. Berriz, Carmen T. Meissner, Monica Berriz)
13   (Joinder Dkt. No. 2943)

14          Indispensable Party: The Estate of Carmen Caldentey Berriz (Joinder Dkt. No. 2943)

15          Indispensable Party: Armando J. Berriz (Joinder Dkt. No. 2943)

16          Indispensable Party: Carmen T. Meissner (Joinder Dkt. No. 2943)

17          Indispensable Party: Monica Berriz (Joinder Dkt. No. 2943)

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 1
                                            EXHIBIT B
 2
     Preference Plaintiffs Identified in Joinder of Singleton Law Firm Victim Claimants (Dkt.
 3   No. 3067)
 4   Thomas Milton Howard

 5   Catherine Maffioli

 6   Glenda Samson

 7   Barbara Spengler

 8   Evelyn Venturi

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 3   ECF Recipients Only.

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                                                                                               August 16, 2019
                                                                                               EDWARD J. EMMONS, CLERK
                                                                                               U.S. BANKRUPTCY COURT
                                                                                               NORTHERN DISTRICT OF CALIFORNIA



                                             1                                              Signed and Filed: August 16, 2019

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                                                                                             ________________________________________
                                             4                                               DENNIS MONTALI
                                                                                             U.S. Bankruptcy Judge
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                                             8                                 UNITED STATES BANKRUPTCY COURT
                                             9                                 NORTHERN DISTRICT OF CALIFORNIA
                                            10
UNITED STATES BANKRUPTCY COURT




                                                 In re:                                               )   Bankruptcy Case
  for the Northern District of California




                                            11
                                                                                                      )   No. 19-30088-DM
                                            12   PG&E CORPORATION,                                    )
                                                                                                      )   Chapter 11
                                            13            - and -                                     )
                                                                                                      )   Jointly Administered
                                            14
                                                 PACIFIC GAS AND ELECTRIC COMPANY,                    )
                                            15                                                        )
                                                                    Debtors.                          )
                                            16                                                        )
                                            17   ☐ Affects PG&E Corporation                           )
                                                 ☐ Affects Pacific Gas and Electric Company           )
                                                 ☒ Affects both Debtors
                                            18                                                        )
                                                                                                      )
                                            19                                                        )
                                                 * All papers shall be filed in the Lead Case, No.
                                            20                                                        )
                                                 19-30088 (DM).
                                                                                                      )
                                            21                                                        )
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                                            22                                                        )
                                            23    MEMORANDUM DECISION REGARDING MOTIONS FOR RELIEF FROM STAY
                                            24            The Official Committee of Tort Claimants (the “TCC”) filed a motion for relief from
                                            25   stay on July 2, 2019 (Dkt. 2842) and the Ad Hoc Group of Subrogation Claim Holders filed a
                                            26   similar motion on July 3, 2019 (Dkt. 2863) (together the “Motions”). Several parties joined and
                                            27   opposed, and the Motions came on for hearing on August 14, 2019. Subsequently, the matters
                                            28   were submitted.


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                                             1            This court has jurisdiction over these contested matters pursuant to 28 U.S.C. §§ 157(b)
                                             2   and 1334(b). They are core proceedings under 28 U.S.C. § 157(b)(2)(A) and (G). Venue is
                                             3   appropriate in this court. 28 U.S.C. § 1409(a).
                                             4      I.       BACKGROUND
                                             5            The parties seek relief from the automatic stay in order to pursue state court litigation
                                             6   which will decide whether Debtors caused and are liable for the wildfire known as the “Tubbs
                                             7   Fire,” which all parties agree is the largest and most destructive fire of the Northern California
                                             8   wildfires that occurred in 2017 and 2018. By the movants’ estimate, the potential damages
                                             9   could account for as much as two-thirds of Debtors’ liability for the wildfires in Northern
                                            10   California. The TCC seeks relief from stay as to eight individuals listed in Exhibit A to their
UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




                                            11   motion who are entitled to statutory preference for trial under California Code of Civil
                                            12   Procedure § 36 (the “Preference Plaintiffs”) in the San Francisco Superior Court, as coordinated
                                            13   litigation (the “Coordination Proceeding”). The Ad Hoc Group of Subrogation Claim Holders
                                            14   seek relief to determine Debtors’ liability in the same litigation.
                                            15      II.      ANALYSIS
                                            16            A bankruptcy court shall lift the automatic stay for cause, which is not defined in the
                                            17   Bankruptcy Code but is decided on a case-by-case basis. See 11 U.S.C. § 362(d)(1);
                                            18   Christensen v. Tucson Estates, Inc. (In re Tucson Estates, Inc.), 912 F.2d 1162, 1166 (9th Cir.
                                            19   1990). If a bankruptcy court may abstain from deciding issues that could be decided by an
                                            20   imminent state court trial involving the same issues, cause may exist to allow the state court
                                            21   trial to go forward. Id. (citation omitted). To determine whether cause exists, courts often use
                                            22   the twelve factors set forth in In re Curtis, 40 B.R. 795, 800 (Bankr. D.Utah 1984) (the “Curtis
                                            23   factors”), which are as follows (excluding the factors irrelevant to this proceeding): whether the
                                            24   relief will result in a partial or complete resolution of the issues; the lack of any connection with
                                            25   or interference with the bankruptcy case; whether a specialized tribunal has been established to
                                            26   hear the particular cause of action and whether that tribunal has the expertise to hear such cases;
                                            27   whether the litigation in another forum would prejudice the interests of other creditors,
                                            28   the creditor's committee and other interested parties; the interests of judicial economy and
                                                 the expeditious and economical determination of litigation for the parties; whether the
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                                             1   foreign proceedings have progressed to the point where the parties are prepared for trial,
                                             2   and the impact of the stay and the "balance of hurt." See also (Kronemyer v. Am.
                                             3   Contractors Indemn. Co. ( In re Kronemyer), 405 B.R. 915, 921 (B.A.P. 9th Cir. 2009)
                                             4   (“We agree that the Curtis factors are appropriate, nonexclusive, factors to consider in
                                             5   deciding whether to grant relief from the automatic stay to allow pending litigation to
                                             6   continue in another forum.”)
                                             7           Here, cause exists to grant relief from stay, both including and independent of the Curtis
                                             8   factors. First, relief from stay will definitively bring a resolution as to Debtors’ liability in the
                                             9   Tubbs fire, and provide an important data point that most likely will facilitate resolution of the
                                            10   wildfire tort claims in this case. Also relevant to the bankruptcy proceeding is the guidance it
UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




                                            11   may provide in this court’s estimation proceedings under 11 U.S.C. § 502(c).
                                            12           Debtors are correct in their opposition to the TCC’s motion when they state that
                                            13   resolution of the Tubbs fire proceedings is central to this case. However, commencement of
                                            14   this litigation, while connected to the bankruptcy, will not interfere with the bankruptcy case.
                                            15   The state court trial may proceed on a parallel track to the proceedings in this court. The state
                                            16   court is also suited for a proceeding which consists entirely of state law issues, and it may be
                                            17   aided by the Coordination Proceeding in order to resolve these issues and the several parties
                                            18   implicated. Further, there is nothing to show that other creditors would be prejudiced if relief
                                            19   were granted, and while they do not appear to be completely ready for trial, the parties filed this
                                            20   action prior to the bankruptcy and, as further discussed below, are on a schedule for resolution.
                                            21           In addition, the interest of judicial economy and an expeditious determination has been
                                            22   served in this case. The TCC has identified the Preference Plaintiffs as entitled to statutory
                                            23   preference pursuant to state procedural law. See Cal. Civ. Proc. Code § 36 (West). On petition
                                            24   of the Preference Plaintiffs, which petition meets the standard laid out in CCP § 36, the state
                                            25   court shall set the matter for trial no more than 120 days after granting the motion for
                                            26   preference. Consequently, a trial in state court is likely to commence in an expeditious fashion
                                            27   once a preference determination has been made. Thus, the Curtis factors weigh in favor of
                                            28   relief from stay.


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                                             1              Finally, cause exists to grant relief from stay to advance these cases towards the
                                             2   necessary and stated goals of all the parties: a just resolution of the claims of victims of the
                                             3   wildfires that have ravaged Northern California in recent years. The pressure to adjudicate
                                             4   these claims in a prompt fashion comes from bankruptcy considerations, moral duties, and even
                                             5   legislative deadlines. See Assembly Bill No. 1054, Chapter 3 § 3291. The statutorily ensured
                                             6   commencement of a trial on the Tubbs fire moves toward liquidating these tort claims and helps
                                             7   with the imperfect method of estimating claims as must be done here in the bankruptcy court.
                                             8   In sum, although a handful of plaintiffs proceeding to trial does not resolve many claims in this
                                             9   case, it advances the goals of this bankruptcy far better than stayed, stagnant proceedings. All
                                            10   arguments to the contrary ignore the urgent need for resolution, the inherent suitability of the
UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




                                            11   state court to bring about that resolution, and the importance of that resolution to the future
                                            12   conduct of these bankruptcy cases.
                                            13       III.      CONCLUSION
                                            14              The Ad Hoc Group of Subrogation Claim Holders’ motion is GRANTED as requested
                                            15   to determine liability in the Coordination Proceeding. The TCC’s motion is GRANTED and
                                            16   the stay is lifted as to Preference Plaintiffs and any other parties entitled to the same preference
                                            17   as brought forth in the joinders filed to the Motions.
                                            18              Counsel for the parties are requested to submit orders consistent with this memorandum
                                            19   decision that identify the parties entitled to relief from stay. Relief from stay will be effective
                                            20   upon entry of those orders. The 14 day stay of Federal Rule of Bankruptcy Procedure
                                            21   4001(a)(3) is waived.
                                            22              The court will issue a further order regarding coordination and communication with the
                                            23   state court proceedings following the August 27, 2019 status conference in this case. 1
                                            24                             *** END OF MEMORANDUM DECISION ***
                                            25
                                            26
                                            27
                                            28   1
                                                 The court expects that litigation counsel for Debtors will work collaboratively with plaintiffs'
                                                counsel to expedite rather than delay the pre-trial process to a get to a jury trial promptly. The
                                                shoe might be on the other foot when it is time to schedule the final estimation hearings.
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UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




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 Exhibit D-1 – Ad Hoc Committee of Subrogation Claimants




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                                                                          Exhibit D


                                                                          WILDFIRE RELATED                              OTHER DISCLOSABLE
         NAME                               ADDRESS
                                                                        SUBROGATION CLAIMS1                             ECONOMIC INTERESTS
Ace American Insurance           c/o Denenberg Tuffley, PLLC            $12,000,000.00
      Company                      28411 Northwestern Hwy,
                                          Suite 600
                                     Southfield, MI 48034
  AIG Europe Limited             c/o Denenberg Tuffley, PLLC            $112,404.50
                                   28411 Northwestern Hwy,
                                          Suite 600
                                     Southfield, MI 48034
Allianz Global Corporate           1 Progress Point Parkway,            $98,459,917.87                        $5,390,500.00 in Senior Notes2
      & Specialty                           Ste. 200
                                      O’Fallon, MO 63368
Allied World Assurance             199 Water Street 24th Flr.           $10,966,215.44
       Company                       New York, NY 10038
  Allstate Insurance            2775 Sanders Road, Suite A2E            $767,827,493.00                       $37,285,000.00 in Senior Notes
 Company and certain                Northbrook, IL 60062
       affiliates
 Alternative Insurance           c/o Denenberg Tuffley, PLLC            $235,035.80
      Corporation                  28411 Northwestern Hwy,
                                          Suite 600
                                     Southfield, MI 48034




  1
     Amounts listed herein are on account of claims paid to underlying insured parties affected by various California wildfires. Every member of the Ad Hoc
     Subrogation Group holds additional claims against the Debtors based on undisclosed internal reserves and future unknown amounts that have neither been paid
     or reserved for.
  2
    “Senior Notes” shall have the meaning ascribed to it in the Amended Declaration of Jason P. Wells in Support of First Day Motions and Related Relief [Dkt.
     No. 263].



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                                                                        WILDFIRE RELATED                           OTHER DISCLOSABLE
           NAME                             ADDRESS
                                                                      SUBROGATION CLAIMS1                          ECONOMIC INTERESTS
    American General                   1949 E. Sunshine               $4,488,843.76
Insurance Company DBA                Springfield, MO 65899
     ANPAC General
   Insurance Company
American Guarantee and            c/o Denenberg Tuffley, PLLC         TBD3
  Liability Insurance               28411 Northwestern Hwy,
      Company                              Suite 600
                                      Southfield, MI 48034
  Certain affiliates of                 175 Water Street              $333,299,328.37
 American International               New York, NY 10038
  Group, Inc. (“AIG”)4
      American Modern             c/o Denenberg Tuffley, PLLC         $198,558.45
      Insurance Group               28411 Northwestern Hwy,
                                           Suite 600
                                      Southfield, MI 48034
   American National              c/o Denenberg Tuffley, PLLC         $15,680.88
  Insurance Company                 28411 Northwestern Hwy,
                                           Suite 600
                                      Southfield, MI 48034
Amica Mutual Insurance                   100 Amica Way                $35,014,454.00
      Company                           Lincoln, RI 02865
AmTrust North America                   P.O. Box 650872               $10,074,129.00
                                        Dallas, TX 75265


  3
      Where a party’s only wildfire related subrogation claims is listed as “TBD”, such party’s claims are based on undisclosed internal reserve amounts.
  4
      Members of the Ad Hoc Subrogation Group include: AIG Europe Limited; AIG Property Casualty Company; AIG Specialty Insurance Company; American
      Home Assurance Company; Granite State Insurance Company; The Insurance Company of the State of Pennsylvania; Lexington Insurance Company; National
      Union Fire Insurance Company of Pittsburgh, Pa.; and New Hampshire Insurance Company.

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                                                              WILDFIRE RELATED    OTHER DISCLOSABLE
        NAME                        ADDRESS
                                                            SUBROGATION CLAIMS1   ECONOMIC INTERESTS
AmTrust Syndicate 1206          1 Great Tower Street        TBD
                                London EC3R 5AA
Arch Specialty Insurance   c/o Denenberg Tuffley, PLLC      $11,240.45
       Company               28411 Northwestern Hwy,
                                    Suite 600
                               Southfield, MI 48034
   American Reliable              P.O. Box 6099             $96,794,363.29
  Insurance Company            Scottsdale, AZ 85261
Armed Forces Insurance     c/o Denenberg Tuffley, PLLC      $7,208,701.33
      Exchange               28411 Northwestern Hwy,
                                    Suite 600
                               Southfield, MI 48034
  ArgoGlobal London        c/o Peninsula Insurance Bureau   $2,216,346.42
                                  2832 Lent Road
                                 Apopka, FL 32712
 ASI Select Insurance               1 ASI Way N             $14,167,681.01
        Corp.                 St. Petersburg, FL 33702
    Aspen Insurance         155 Federal Street, Suite 602   $6,769,491.09
                                Boston, MA 02110
    Aspen Specialty        c/o Denenberg Tuffley, PLLC      $1,601,164.38
  Insurance Company          28411 Northwestern Hwy,
                                    Suite 600
                               Southfield, MI 48034




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       NAME                                ADDRESS
                                                                        SUBROGATION CLAIMS1                             ECONOMIC INTERESTS
“Assurant” Group of             260 Interstate North Circle SE          $29,443,581.68
     Carriers5                       Atlanta, GA 30339
Attestor Capital LLP           7 Seymour Street, Fourth Floor           $655,313,342.006                       8,518,514 shares of PG&E Corporation
                                  London, XO W1H 7JW                                                           Common Stock
                                                                                                               $158,077,000.00 in Senior Notes
                                                                                                               $10,000,000.00 in Revolving Credit Facility
                                                                                                               principal7
The Baupost Group,                  10 St. James Avenue                 $3,387,748,268.909                     24,500,000 shares of PG&E Corporation
     L.L.C.8                             Suite 1700                                                            Common Stock
                                Boston, Massachusetts 02116                                                    $850,000.00 in other unsecured wildfire-
                                                                                                               related claims
  Berkley National                  222 South 9th Street,               $4,876,779.57
Insurance Company                        Suite 2700
                                   Minneapolis, MN 55402
 Berkley Regional                   222 South 9th Street,               $98,440.35
Insurance Company                        Suite 2700
                                   Minneapolis, MN 55402



5
   Members of the Ad Hoc Subrogation Group include: American Bankers Insurance Company; American Bankers Insurance Company of Florida; American
   Security Insurance Company; Standard Guaranty Insurance Company; Voyager Indemnity Insurance Company.
6
   Includes indirect exposure to subrogation claims, which provide economic interest to the subrogation claims arising from payments made (or to be made) by
   insurers to underlying insured parties affected by various California wildfires.
7
  “Revolving Credit Facility” shall have the meaning ascribed to it in the Amended Declaration of Jason P. Wells in Support of First Day Motions and Related
   Relief [Dkt. No. 263].
8
   Disclosed information reflects funds and investment vehicles controlled by The Baupost Group, L.L.C.
9
   The amounts reflected herein are based on information received from the insurers who were the original holders of these claims and who have made or will make
   payments to their respective insured policyholders that give rise to, or are otherwise related to, these claims. The Baupost Group L.L.C. has not independently
   verified such information which remains subject to change based on information subsequently received. The Baupost Group L.L.C. expressly reserves the right
   to amend or modify the information set forth in this Bankruptcy Rule 2019 Statement, whether based on information that is subsequently received, or for any
   other reason.

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       NAME                      ADDRESS
                                                         SUBROGATION CLAIMS1     ECONOMIC INTERESTS
 Berkshire Hathaway           P.O. Box 1368              $5,298,837.50
     Guard Ins.           Wilkes Barre, PA 18703
 Berkshire Hathaway     c/o Denenberg Tuffley, PLLC      $722,900.00
 Specialty Insurance      28411 Northwestern Hwy,
      Company                    Suite 600
                            Southfield, MI 48034
Brit Global Specialty     The Leadenhall Building        $23,820,342.45
                           122 Leadenhall Street
                                 London
                                EC3V 4AB
 California Casualty    1875 S. Grant Street, Ste. 800   $44,534,274.67
Indemnity Exchange              P.O. Box M
                           San Mateo, CA 94402
 California Fair Plan     3425 Wilshire Boulevard,       $40,668,908.36
     Association                Suite 1200
                           Los Angeles CA 90010
 California Insurance    101 North Brand Boulevard,      $69,984,665.00
Guarantee Association             6th Floor
                            Glendale, CA 91203
                              P.O. Box 29066
                            Glendale, CA 91209
  California Mutual         650 San Benito Street        $242,500.00
 Insurance Company                 Ste. 250
                             Hollister, CA 95023
  Century National             P.O. Box 628              $100,000.00
                             Cypress, CA 90630



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          NAME                           ADDRESS
                                                                   SUBROGATION CLAIMS1                         ECONOMIC INTERESTS
Certain Underwriters at                                            TBD
   Lloyds, London
Chubb Custom Insurance         c/o Denenberg Tuffley, PLLC         $5,931,468.33
      Company                    28411 Northwestern Hwy,
                                        Suite 600
                                   Southfield, MI 48034
       Chubb Group10           436 Walnut Street, 4th Floor        $28,828,529.59                      $1,025,000.00 in Senior Notes
                                 Philadelphia, PA 19106                                                Insurance policies: unliquidated and
                                                                                                       contingent11
Church Mutual Insurance                PO Box 342                  $18,440,546.12
                                     Merrill, WI 54452
CNA Insurance Company           801 West Warrenville Road,         $28,087,621.32
                                         Ste 700
                                     Lisle, IL 60532
  Continental Casualty         c/o Denenberg Tuffley, PLLC         TBD
       Company                   28411 Northwestern Hwy,
                                        Suite 600
                                   Southfield, MI 48034
  Crestmont Insurance          c/o Denenberg Tuffley, PLLC         $1,000,000.00
       Company                   28411 Northwestern Hwy,
                                        Suite 600
                                   Southfield, MI 48034



  10
           Members of the Ad Hoc Subrogation Group include: Bankers Standard Insurance Company; Chubb Custom Insurance Company; Chubb Insurance
     Company of New Jersey; Chubb National Insurance Company; Federal Insurance Company; Great Northern Insurance Company; Illinois Union Insurance
     Company; Indemnity Insurance Company of North America; Pacific Indemnity Company; Vigilant Insurance Company; Westchester Fire Insurance Company
     (Apa); and ACE American Insurance Company (collectively, the “Chubb Group”).
  11
           Certain Chubb entities are party to various insurance policies and agreements with PG&E and its affiliates.

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       NAME                      ADDRESS
                                                       SUBROGATION CLAIMS1       ECONOMIC INTERESTS
 Crusader Insurance          26050 Mureau Road         $423,717.00
     Company              Calabasas, CA 91302-3171
The Dentists Insurance                                 TBD
     Company
 Employers Mutual               717 Mulberry           $308,468.00
 Casualty Company           Des Moines, IA 50306
                                P.O. Box 712
                            Des Moines, IA 50306
Endurance American       c/o Denenberg Tuffley, PLLC   TBD
Specialty Insurance        28411 Northwestern Hwy,
     Company                      Suite 600
                             Southfield, MI 48034
 Endurance Specialty     c/o Denenberg Tuffley, PLLC   $16,860.68
 Insurance Company         28411 Northwestern Hwy,
                                  Suite 600
                             Southfield, MI 48034
  Essentia Ins. Co.          141 Rivers Edge Dr.       TBD
                                   Ste 200
                           Traverse City, MI 49684
  Everest Indemnity      c/o Denenberg Tuffley, PLLC   $363,185.10
 Insurance Company         28411 Northwestern Hwy,
                                  Suite 600
                             Southfield, MI 48034
   Everest National      c/o Denenberg Tuffley, PLLC   $3,000,000.00
 Insurance Company         28411 Northwestern Hwy,
                                  Suite 600
                             Southfield, MI 48034


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                                                                     SUBROGATION CLAIMS1                         ECONOMIC INTERESTS
  Certain affiliates of              6301 Owensmouth                 $2,388,995,676.32
  Farmers Insurance               Woodland Hills, CA 91367
      Exchange
  Federated Insurance                   P.O. Box 486                 $1,758,448.24
                                     Owatonna, MN 55060
First Specialty Insurance             1200 Main Street               TBD
       Corporation                  Kansas City, MO 64105
      GCube Insurance            100 Bayview Circle, Ste. 505        TBD
       Services, Inc.             Newport Beach, CA 92660
   General Security             c/o Denenberg Tuffley, PLLC          $6,849,746.71
Indemnity Company of              28411 Northwestern Hwy,
      Arizona                            Suite 600
                                    Southfield, MI 48034
 Generali U.S. Branch           c/o Denenberg Tuffley, PLLC          $22,480.90
                                  28411 Northwestern Hwy,
                                         Suite 600
                                    Southfield, MI 48034
      Grange Insurance                  200 Cedar St.                $32,399,064.52
        Association                   Seattle, WA 98121
    Great American                Great American Insurance           $81,098,617.90
Insurance Company and                        Group
   certain affiliates12                 P.O. Box 5425
                                  Cincinnati, OH 45201-5425



 12
            Members of the Ad Hoc Subrogation Group include: Great American Spirit Insurance Company; Great American Assurance Company; Great American
      Alliance Insurance Company; Great American Insurance Company; Great American Insurance Company of New York; and Great American E&S Insurance
      Company.

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                                                                       SUBROGATION CLAIMS1                           ECONOMIC INTERESTS
Government Employees                 5260 Western Avenue               $11,276,719.68
Insurance Company and               Chevy Chase, MD 20815
    certain affiliates
 GuideOne Insurance                     PO Box 14543                   TBD
                                   Des Moines, IA 50306-3543
The Hanover Insurance                  440 Lincoln Street              $19,196,114.00
       Group                          Worcester, MA 01653
  Hartford Accident &                   1 Hartford Plaza,              $335,882,101.00                      $4,549,000.00 in Senior Notes
Indemnity Company and                  Hartford, CT 06155
   certain affiliates13
       HDI Global SE              c/o Denenberg Tuffley, PLLC          $12,000,000.00
                                    28411 Northwestern Hwy,
                                           Suite 600
                                      Southfield, MI 48034
International Insurance           c/o Denenberg Tuffley, PLLC          $44,961.80
Company of Hannover                 28411 Northwestern Hwy,
          SE                               Suite 600
                                      Southfield, MI 48034
Ironshore Insurance Ltd.          c/o Denenberg Tuffley, PLLC          $713,186.34
                                    28411 Northwestern Hwy,
                                           Suite 600
                                      Southfield, MI 48034




 13
      Members of the Ad Hoc Subrogation Group include: Hartford Casualty Insurance Company; Hartford Fire Insurance Company; Hartford Underwriters Insurance
      Company; Property & Casualty Ins. Company of Hartford; Sentinel Insurance Company Ltd.; Trumbull Insurance Company; and Twin City Fire Insurance
      Company.

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                                                                   SUBROGATION CLAIMS1                         ECONOMIC INTERESTS
  Ironshore Specialty          c/o Denenberg Tuffley, PLLC         $22,480.90
  Insurance Company              28411 Northwestern Hwy,
                                        Suite 600
                                   Southfield, MI 48034
       KBIC Insurance         55 Challenger Road, Suite 302        $1,304,991.34
         Company                Ridgefield Park, NJ 07660
Kemper Auto | Alliance       8260 LBJ Freeway, Suite 400           $26,348,619.34
       United                     Dallas, Texas 75243
  Landmark American            c/o Denenberg Tuffley, PLLC         $213,186.34
  Insurance Company              28411 Northwestern Hwy,
                                        Suite 600
                                   Southfield, MI 48034
  Certain Affiliates of             175 Berkeley Street            $678,063,568.00                    $122,860,717.00 in surety bonds,
Liberty Mutual Insurance            Boston, MA 02117                                                  unliquidated and contingent14
  Company (“Liberty”)                                                                                 Insurance policies: unliquidated and
                                                                                                      contingent15
Certain Underwriters of        c/o Denenberg Tuffley, PLLC         $21,325,851.00
Lloyd’s of London, UK            28411 Northwestern Hwy,
Subscribing to Certain                  Suite 600
       Policies16                  Southfield, MI 48034


  14
     Liberty continues to write new bonds in the ordinary course of business post-petition.
  15
     Liberty is party to various surety bonds, insurance policies and related agreements with PG&E and its affiliates.
  16
     Members of the Ad Hoc Subrogation Group include underwriters to policy numbers: 10492-04, 10942-01, 16463W18, B0507L16360-521, B1230AP56189A17,
     B1230AP01428A18-16247, B128415509W18, B1353DG1700356000, B57635DAA, H3X000266, H3X000540, H3X000606, H3X000642, H3X000697,
     H3X000826, H3X000910, LSI100402-05, LSI100966-04, LSI103618-01, N17NA10020, P17A1770A001, PG1700158, PIV105114, PIV105143, PIV105626,
     PIV105719, PIV106514, PIV106864, PIV110301, PIV119634, PLNMBLV00001318, PN1600673AGA, PN1700079, PN1700089, PN1700157, PN1700 364,
     PRPNA1701511, PSLPL106107, PTNAM1701507, PTNAM1701688, PTNAM1802877, PTNAM1802878, PTNAM1802879, PTNAM1802896,
     W1D52B160101, and W1DC80180201.

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 Certain Underwriters at          301 Route 17 North, Suite 401         $7,456,230.85
    Lloyd’s London                    Rutherford, NJ 07070
Subscribing to Policy No.
  HTB-002381-002 c/o
 Raphael and Associates
Lloyds of London Novae                      777 Main St.                $903,745.13
    2007 Syndicate                     Fort Worth, TX 76102
         Mapfre USA                       11 Gore Road                  $8,747,210.34                        4,000 shares of PG&E Corporation
                                        Webster, MA 01570                                                    Common Stock
       Markel Service,               4521 Highwoods Parkway             $26,706,285.00
       Incorporated17                  Glen Allen, VA 23060
   Maxum Indemnity                 c/o Denenberg Tuffley, PLLC          $106,593.17
      Company                        28411 Northwestern Hwy,
                                            Suite 600
                                       Southfield, MI 48034
       Maxum Specialty              3655 North Point Parkway            $167,036.14
       Insurance Group                     Suite 600
                                      Alpharetta, GA 30005
 Mercury Insurance and               555 W. Imperial Highway            $63,489,833.00
   certain affiliates                    Brea, CA 92821
  Metropolitan Direct                    500 MetLife Way                $6,812,891.97
  Property & Casualty                    Freeport, IL 61032




  17
       On behalf of its affiliated insurers, Evanston Insurance Company, Markel American Insurance Company, and Markel Insurance Company.

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        NAME                        ADDRESS
                                                            SUBROGATION CLAIMS1                   ECONOMIC INTERESTS
 National Fire & Marine    c/o Denenberg Tuffley, PLLC      TBD
  Insurance Company          28411 Northwestern Hwy,
                                    Suite 600
                               Southfield, MI 48034
  Nationwide Mutual           One Nationwide Plaza,         $844,157,320.89
Insurance Company and         Columbus, Ohio 43215
    certain affiliates
   Nautilus Insurance         600 Las Colinas Blvd.,        $20,896.00
       Company                      Ste. 1400
                                Irving, TX 75039
  Nonprofits Insurance           P.O. Box 8507              $4,258,177.00
       Alliance            Santa Cruz, CA 95061-8507
 OneBeacon / Atlantic        188 Inverness Dr. West,        $384,885.46
  Specialty Ins. Co.                Ste. 600
                              Englewood, CO 80112
    Pacific Specialty            2200 Geng Road             $45,259,283.34
     Insurance Co.             Palo Alto, CA 94303
  Pharmacists Mutual             P.O. Box 360,              $652,000.00
  Insurance Company            Algona, Iowa 50511
 Philadelphia Indemnity     One Bala Plaza, Suite 100       $22,785,967.27
  Insurance Company         Bala Cynwyd, PA 19004
The Princeton Excess and   c/o Denenberg Tuffley, PLLC      $290,848.35
 Surplus Lines Insurance     28411 Northwestern Hwy,
        Company                     Suite 600
                               Southfield, MI 48034




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        NAME                       ADDRESS                                     1
                                                            SUBROGATION CLAIMS          ECONOMIC INTERESTS
    The Progressive         6300 Wilson Mills Road          $11,852,398.08       63,500 shares of PG&E Corporation
     Corporation           Mayfield Village, OH 44143                            Common Stock
    PURE Insurance          44 S. Broadway, Suite 301       $10,545,017.55
                             White Plains, NY 10601
  QBE Americas, Inc.             One QBE Way                $80,403,727.00
                              Sun Prairie, WI 53596
Rite Aid Corporation and   c/o Denenberg Tuffley, PLLC      $2,750,000.00
  Thrifty Payless, Inc.      28411 Northwestern Hwy,
                                    Suite 600
                               Southfield, MI 48034
   RSUI Group, Inc.         945 East Paces Ferry Road,      $48,354.38
                                    Suite 1800
                                Atlanta, GA 30326
    RSUI Indemnity         c/o Denenberg Tuffley, PLLC      TBD
      Company                28411 Northwestern Hwy,
                                    Suite 600
                               Southfield, MI 48034
  Selective Insurance           40 Wantage Ave.             $1,188,619.06
 Company of America;          Branchville, NJ 07826
  Mesa Underwriters
  Specialty Insurance
       Company
Sentry Select Insurance          P.O. Box #8043             TBD
       Company               Stevens Point, WI 54481




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                                                          SUBROGATION CLAIMS1                   ECONOMIC INTERESTS
Star Insurance Company    c/o Denenberg Tuffley, PLLC     $15,419.67
                            28411 Northwestern Hwy,
                                   Suite 600
                              Southfield, MI 48034
   Starr Surplus Lines    c/o Denenberg Tuffley, PLLC     $745,392.18
  Insurance Company         28411 Northwestern Hwy,
                                   Suite 600
                              Southfield, MI 48034
 Starr Technical Risks     5151 San Felipe Suite #200     $241,771.89
                              Houston, TX 77056
  State Farm Mutual          One State Farm Plaza         $2,497,028,505.00              $305,500,000.00 in Senior Notes
 Automobile Insurance       Bloomington, IL 61710                                        $3,250,000.00 in Non-Wildfire Subrogation
 Company and certain                                                                     Claims
       affiliates                                                                        $530,000.00 in Contractual Obligations
                                                                                         under Prepetition Settlement Agreement
  Stillwater Insurance        12500 I St., Ste. 100       $8,964,358.14
         Group                 Omaha, NE 68137
   Sutter Insurance      1301 Redwood Way, Suite 200      $838,200.00
      Company                Petaluma, CA 94954
Tokio Marine American     c/o Denenberg Tuffley, PLLC     $14,224.00
 Insurance Company          28411 Northwestern Hwy,
                                   Suite 600
                              Southfield, MI 48034
 TOPA Insurance Co.      24025 Park Sorrento, Suite 300   $631,000.00
                             Calabasas, CA 91302




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                   Case:
                   Case: 19-30088
                         19-30088    Doc#
                                     Doc# 3825-1
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                                          3812-4      Filed:
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                                                                              Exhibit D


                                                                             WILDFIRE RELATED            OTHER DISCLOSABLE
           NAME                               ADDRESS                                         1
                                                                           SUBROGATION CLAIMS           ECONOMIC INTERESTS
       TPG Sixth Street                3100 McKinney Ave.,                 $391,381,542.0019    1,000,000 shares of PG&E Corporation
       Partners, LLC18                      Suite 1030                                          Common Stock
                                         Dallas, TX 75201                                       $335,521,000.00 in Senior Notes
                                                                                                $9,884,084.00 in Revolving Credit Facility
                                                                                                principal
The Travelers Indemnity            1 Tower Square, 0000-08MS               $664,857,946.00                         $40,000,000.00 in Senior Notes
Company and certain of                 Hartford, CT 06183
  its property casualty
 insurance affiliates20
TWE Insurance Company             c/o Denenberg Tuffley, PLLC              $3,641,450.00
       Pte. Ltd.                    28411 Northwestern Hwy,
                                           Suite 600
                                      Southfield, MI 48034
 United Fire & Casualty                   PO Box 73909                     $4,526,457.00
   Financial Pacific                  Cedar Rapids, IA 52407




  18
     Disclosed information reflects funds and investment vehicles controlled by affiliates of TPG Sixth Street Partners, LLC.
  19
     The amounts reflected herein are based on information received from the insurers who hold legal title to and issued the policies relating to these claims, and who
     have made or will make payments to their respective insured policyholders that give rise to, or are otherwise related to, these claims. TPG Sixth Street Partners,
     LLC has not independently verified such information which remains subject to change based on information subsequently received. TPG Sixth Street Partners,
     LLC expressly reserves the right to amend or modify the information set forth in this Bankruptcy Rule 2019 Statement, whether based on information that is
     subsequently received, or for any other reason.
  20
     Members of the Ad Hoc Subrogation Group include: Travelers Casualty Insurance Company of America; Travelers Indemnity Company of Connecticut;
     Travelers Property Casualty Company of America; The Travelers Indemnity Company of America; St Paul Fire and Marine, The Travelers Indemnity Company;
     Travelers Commercial Insurance Company; The Standard Fire Insurance Company; The Travelers Home and Marine Insurance Company; Travelers Property
     Casualty Insurance Company; Fidelity and Guaranty Insurance Underwriters Inc.; The Northfield Insurance Company; Northland Insurance; Constitution State
     Services, LLC.

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                       Case:
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                                                                     WILDFIRE RELATED           OTHER DISCLOSABLE
           NAME                          ADDRESS                                      1
                                                                   SUBROGATION CLAIMS          ECONOMIC INTERESTS
  Certain affiliates of            9800 Fredericksburg             $532,829,646.00      $20,000,000.00 in Senior Notes
    United Services               San Antonio, TX 78288                                 $38,000 in other claims
Automobile Association21
    United Specialty           c/o Denenberg Tuffley, PLLC         $1,518,656.34
  Insurance Company              28411 Northwestern Hwy,
                                        Suite 600
                                   Southfield, MI 48034
 United States Liability          1190 Devon Park Drive            $401,790.00
  Insurance Company                 Wayne, PA 19087
    Tudor Insurance            300 Kimball Drive, Suite 500        $3,913,658.23
  Company and certain              Parsippany NJ 07054
      affiliates22
   Wawanesa General                   9050 Friars Rd.              $1,926,522.57
    Insurance Co.                  San Diego, CA 92108
 XL America Insurance,         c/o Denenberg Tuffley, PLLC         $13,084,303.38
        Inc.                     28411 Northwestern Hwy,
                                        Suite 600
                                   Southfield, MI 48034
       Zenith Insurance             P.O. Box 619083                $3,987,318.25
          Company               Roseville, CA 95661-9083
    Zurich American                  1299 Zurich Way               $43,971,489.13
  Insurance Company                Schaumburg, IL 60196




  21
     Members of the Ad Hoc Subrogation Group include: United Services Automobile Association; USAA Casualty Insurance Company; USAA General Indemnity
     Company; Garrison Property and Casualty Company, and affiliates companies.
  22
     Members of the Ad Hoc Subrogation Group include: Western World Insurance Company.

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                      Case:
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 Exhibit D-2 – Ad Hoc Committee of Noteholders




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                                                                                                         NAME                                      ADDRESS                       NATURE AND AMOUNT OF DISCLOSABLE ECONOMIC INTEREST
                                                                                                Angelo, Gordon & Co., L.P.                       245 Park Avenue                 $54,004,000 in Senior Utility Notes 1




Case:
Case:
                                                                                                                                               New York, NY 10167                600,000 shares of PG&E Stock
                                                                                           Apollo Global Management LLC                         9 West 57th Street               $356,026,000 in Senior Utility Notes
                                                                                                                                                   43rd Floor                    $110,000,000 in Utility L/C Reimbursement
                                                                                                                                               New York, NY 10019                $93,000,000 in DIP Term Loans 2




Case: 19-30088
      19-30088
                                                                                                                                                                                 $31,000,000 in Delayed DIP Term Loans 3




      19-30088 Doc#
               Doc#
                                                                                            1   “Senior Utility Notes” means the senior notes issued by Pacific Gas and Electric Company (the “Utility”) under (a) that certain Indenture, dated as of April 22,
                                                                                   2005, between Utility and The Bank of New York Company, as trustee (in such capacity, the “Trustee”), which amends and restates that certain Indenture of Mortgage, dated as of




               Doc# 3825-1
                    3812-4
                                                                                   March 11, 2004, relating to the issuance of certain notes which are no longer outstanding, other than $3,000M principal amount of 6.05% senior notes due March 1, 2034, and (i) 1st
                                                                                   Supplemental Indenture, dated as of March 13, 2007, relating to $700M principal amount of 5.80% senior notes due March 1, 2037 (ii) 3rd Supplemental Indenture, dated as of March 3,
                                                                                   2008, relating to $400M principal amount of 6.35% senior notes due Feb 15, 2038, (iii) 6th Supplemental Indenture, dated as of March 6, 2009, relating to $550M principal amount of




                    3083 Filed:
                                                                                   6.25% senior notes due March 1, 2039, (iv) 8th Supplemental Indenture, dated as of November 18, 2009, relating to $550M principal amount of 5.40% senior notes due January 15,




                           Filed:
                                                                                   2040, (v) 9th Supplemental Indenture, dated as of April 1, 2010, relating to $250M principal amount of 5.80% senior notes due March 1, 2037, (vi) 10th Supplemental Indenture, dated
                                                                                   as of September 15, 2010, relating to $550M principal amount of 3.50% senior notes due October 1, 2020, (vii) 12th Supplemental Indenture, dated as of November 18, 2010, relating to




                                     of
                                                                                   $250M principal amount of 3.50% senior notes due October 1, 2020 and $250M principal amount of 5.40% senior notes due January 15, 2040, (viii) 13th Supplemental Indenture, dated




                           Filed:07/18/19
                                     of859
                                                                                   as of May 13, 2011, relating to $300M principal amount of 4.25% senior notes due May 15, 2021, (ix) 14th Supplemental Indenture, dated as of September 12, 2011, relating to $250M




                                        28
                                  09/06/19
                                                                                   principal amount of 3.25% senior notes due September 15, 2021, (x)16th Supplemental Indenture, dated as of December 1, 2011, relating to $250M principal amount of 4.50% senior
                                                                                   notes due December 15, 2041, (xi) 17th Supplemental Indenture, dated as of April 16, 2012, relating to $400M principal amount of 4.45% senior notes due April 15, 2042, (xii) 18th
                                                                                   Supplemental Indenture, dated as of August 16, 2012, relating to $400M principal amount of 2.45% senior notes due August 15, 2022 and $350M principal amount of 3.75% senior
                                                                                   notes due August 15, 2042, (xiii) 19th Supplemental Indenture, dated as of June 14, 2013, relating to $375M principal amount of 3.25% senior notes due June 15, 2023 and $375M




                                  09/04/19 Entered:
                                                                                   principal amount of 4.60% senior notes due June 15, 2043, (xiv) 20th Supplemental Indenture, dated as of November 12, 2013, relating to $300M principal amount of 3.85% senior




                                            Entered:
                                                                                   notes due November 15, 2023 and $500M principal amount of 5.125% senior notes due November 15, 2043, (xv) 21st Supplemental Indenture, dated as of November 12, 2013, relating
                                                                                   to $450M principal amount of 3.75% senior notes due February 15, 2024 and $450M principal amount of 4.75% senior notes due February 15, 2044, (xvi) 23rd Supplemental Indenture,
                                                                                   dated as of August 18, 2014, relating to $350M principal amount of 3.40% senior notes due August 15, 2024 and $225M principal amount of 4.75% senior notes due February 15, 2044,
                                                                                   (xvii) 24th Supplemental Indenture, dated as of November 6, 2014, relating to $500M principal amount of 4.30% senior notes due March 15, 2045, (xviii) 25th Supplemental Indenture,




                                            Entered:07/18/19
                                                     09/06/19
                                                                                   dated as of June 12, 2015, relating to $400M principal amount of 3.50% senior notes due June 15, 2025 and $100M principal amount of 4.30% senior notes due March 15, 2045, (xix)
                                                                                   26th Supplemental Indenture, dated as of November 5, 2015, relating to $200M principal amount of 3.50% senior notes due June 15, 2025 and $450M principal amount of 4.25% senior
                                                                                   notes due March 15, 2046, (xx) 27th Supplemental Indenture, dated as of March 1, 2016, relating to $600M principal amount of 2.95% senior notes due March 1, 2026, (xxi) 28th
                                                                                   Supplemental Indenture, dated as of December 1, 2016, relating to $400M principal amount of 4.00% senior notes due December 1, 2046, (xxii) 29th Supplemental Indenture, dated as




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                                                                                   of March 10, 2017, relating to $400M principal amount of 3.30% senior notes due March 15, 2027 and $200M principal amount of 4.00% senior notes due December 1, 2046, (b) that
                                                                                   certain Indenture, dated as of March 10, 2017, between Utility and the Trustee, relating to $1,150M principal amount of 3.30% senior notes due December 1, 2027 and $850M principal
                                                                                   amount of 3.95% of senior notes due 2047 and (c) that certain Indenture, dated as of August 6, 2018, between Utility and the Trustee, as supplemented by 1st Supplemental Indenture,




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                                                                                   dated as of August 6, 2018, relating to $500M principal amount of 4.25% senior notes due 2023 and $300M principal amount of 4.65% senior notes due 2028.




                                                                        Page
                                                                                            2 “DIP Term Loans” means the term loans under that senior secured, superpriority debtor-in-possession new money credit, guaranty and security agreement (the “DIP Credit




                                                                              of
                                                                        Page5 50
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                                                                                   Agreement”) in an aggregate principal amount of $1,500,000,000.
                                                                                            3 “Delayed DIP Term Loans” means the delayed draw term loans under the DIP Credit Agreement in an aggregate principal amount of $500,000,000.




                                                                                                                                                                            1
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                                                                                           Aurelius Capital Management, LP                    535 Madison Avenue                 $99,500,000 in Senior Utility Notes
                                                                                                                                                   31st Floor                    624,933 shares of PG&E Stock




Case:
Case:
                                                                                                                                              New York, NY 10022
                                                                                             Canyon Capital Advisors LLC                     2000 Avenue of the Stars            $158,260,000 in Senior Utility Notes
                                                                                                                                                   11th Floor                    $161,983,142.89 in Utility Revolver Loans 4
                                                                                                                                             Los Angeles, CA 90067               $88,113,595 in Utility L/C Reimbursement




Case: 19-30088
      19-30088
                                                                                                                                                                                 $15,000,000 in HoldCo Revolver Loans 5
                                                                                                                                                                                 $60,000,000 in HoldCo Term Loans 6
                                                                                                       Capital Group                         333 South Hope Street               $398,000,000 in Senior Utility Notes
                                                                                                                                                   55th Floor




      19-30088 Doc#
               Doc#
                                                                                                                                             Los Angeles, CA 90071
                                                                                                      CarVal Investors                         461 Fifth Avenue                  $164,734,000 in Senior Utility Notes
                                                                                                                                              New York, NY 10017




               Doc# 3825-1
                    3812-4
                                                                                                  Castle Hook Partners LP 7                    250 West 55th Street              $102,750,000 in Senior Utility Notes
                                                                                                                                              New York, NY 10019                 473,709 shares of PG&E Stock




                    3083 Filed:
                                                                                                   Citadel Advisors LLC                       520 Madison Avenue                 $553,500,000 in Senior Utility Notes




                           Filed:
                                                                                                                                              New York, NY 10022                 3,540,569 shares of PG&E Stock
                                                                                                                                                                                 Short Positions in Call Options of 102,400 shares of PG&E Stock




                                     of
                                                                                                                                                                                 Put Options in 794,000 shares of PG&E Stock




                           Filed:07/18/19
                                     of859
                                                                                                 Citigroup Global Markets 8               390 Greenwich Street, 4th Floor        $43,967,000 in Senior Utility Notes




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                                  09/06/19
                                                                                                                                              New York, NY 10013                 $6,000,000 in Utility Revolver Loans
                                                                                                                                                                                 $13,240,723 in HoldCo Revolver Loans
                                                                                                                                                                                 $27,801,750 in Trade Claims
                                                                                                 Cyrus Capital Partners, L.P.                  65 East 55th Street               $86,454,000 in Senior Utility Notes




                                  09/04/19 Entered:
                                                                                                                                                   6th Floor




                                            Entered:
                                                                                                                                              New York, NY 10022




                                            Entered:07/18/19
                                                     09/06/19
                                                                                             4 “Utility Revolver Loans” means loans under that certain Second Amended and Restated Credit Agreement, dated as of April 27, 2015 by and between the Utility and




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                                                                                   Citibank, N.A. as administrative agent (in such capacity, the “Revolving Agent”).




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                                                                                             5 “HoldCo Revolver Loans” means loans under that certain Second Amended and Restated Credit Agreement, dated as of April 27, 2015 by and between PG&E and the

                                                                                   Revolving Agent.




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                                                                                             6 “HoldCo Term Loans” means loans under that certain Term Loan Credit Agreement, dated as of April 16, 2018, by and between PG&E and Mizuho Bank, Ltd., as




                                                                        Page
                                                                                   administrative agent.




                                                                              of
                                                                        Page6 51
                                                                              20
                                                                                             7 Castle Hook Partners (“Castle Hook”) recently joined the Ad Hoc Committee.   Castle Hook’s reported holdings are as of July 12, 2019.
                                                                                             8   These holdings apply only to Citigroup’s distressed trading desk.

                                                                                                                                                                            2
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                                                                                      Davidson Kempner Capital Management LP                 520 Madison Avenue                $821,700,000 in Senior Utility Notes
                                                                                                                                                  30th Floor                   $55,000,000 in Utility Revolver Loans




Case:
Case:
                                                                                                                                             New York, NY 10022                6,022,000 shares of PG&E Stock
                                                                                            Deutsche Bank Securities Inc.                       60 Wall Street                 $216,764,000 in Senior Utility Notes
                                                                                                                                                   4th Floor                   $11,920,017 in Utility Revolver Loans
                                                                                                                                             New York, NY 10005                $87,788,253 in Utility L/C Reimbursement




Case: 19-30088
      19-30088
                                                                                                                                                                               Put Options in 1,825,000 shares of PG&E Stock
                                                                                                                                                                               $100,000,000 in Wildfire Subrogation Claims
                                                                                             Diameter Capital Partners LP                     24 West 40th Street              $151,748,000 in Senior Utility Notes
                                                                                                                                                  5th Floor                    $39,901,244 in Utility Revolver Loans




      19-30088 Doc#
               Doc#
                                                                                                                                             New York, NY 10018                965,000 shares of PG&E Stock
                                                                                                                                                                               $17,000,000 in a Bilateral Utility Loan
                                                                                                                                                                               $10,972,746 in Trade Claims




               Doc# 3825-1
                    3812-4
                                                                                           Elliott Management Corporation                     40 West 57th Street              $1,425,803,000 in Senior Utility Notes
                                                                                                                                             New York, NY 10019
                                                                                         Farallon Capital Management, L.L.C.                  One Maritime Plaza               $353,120,000 in Senior Utility Notes




                    3083 Filed:
                           Filed:
                                                                                                                                                   Suite 2100                  $53,580,000 in Utility Revolver Loans
                                                                                                                                            San Francisco, CA 94111
                                                                                                  Fir Tree Partners                           55 West 46th Street              $79,430,000 in Senior Utility Notes




                                     of
                                                                                                                                                  29th Floor




                           Filed:07/18/19
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                                                                                                                                             New York, NY 10036




                                  09/06/19
                                                                                          Oaktree Capital Management, L.P.                  333 South Grand Avenue             $158,747,000 in Senior Utility Notes
                                                                                                                                                   28th Floor                  1,215,000 shares of PG&E Stock
                                                                                                                                             Los Angeles, CA 90071             $3,750,000 in DIP Term Loans
                                                                                                                                                                               $24,900,869 in Utility Revolver Loans




                                  09/04/19 Entered:
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                                                                                                                                                                               $10,000,000 in Utility Term Loans 9


                                                                                       Och-Ziff Capital Management Group LLC                  9 West 57th Street               $407,799,000 in Senior Utility Notes
                                                                                                                                                 39th Floor                    $11,250,000 in DIP Term Loans




                                            Entered:07/18/19
                                                                                                                                             New York NY 10019                 $3,750,000 in Delayed DIP Term Loans




                                                     09/06/19
                                                                                                                                                                               1,714,023 shares of PG&E Stock
                                                                                                                                                                               Call Options of 1,121 shares of PG&E Stock




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                                                                              21
                                                                                          9 “Utiltity Term Loans” means loans under that certain term loan agreement dated as of February 23, 2018 by and among the Utility, The Bank of Tokyo-Mitsubishi UFJ, Ltd.

                                                                                   (“BTMU”) and U.S. Bank National Association, as lenders, joint lead arranger and joint bookrunners and BTMU as administrative agent.


                                                                                                                                                                          3
                                                                                                                                                            Exhibit D

                                                                                   Pacific Investment Management Company LLC    650 Newport Center Drive            $2,051,882,000 in Senior Utility Notes
                                                                                                                                Newport Beach, CA 92660             $220,000,000 in Utility Term Loans




Case:
Case:
                                                                                                                                                                    $634,500,000 in DIP Term Loans
                                                                                                                                                                    $211,500,000 in Delayed DIP Term Loans
                                                                                         Pacific Life Insurance Company         700 Newport Center Drive            $86,287,000 in Senior Utility Notes
                                                                                                                                Newport Beach, CA 92660




Case: 19-30088
      19-30088
                                                                                       P. Schoenfeld Asset Management LP       1350 Avenue of the Americas          $95,949,000 in Senior Utility Notes
                                                                                                                                       21st Floor                   621,815 shares of PG&E Stock
                                                                                                                                  New York, NY 10019                Short Positions in Call Options of 325,000 shares of PG&E Stock
                                                                                          Senator Investment Group LP             510 Madison Avenue                $214,796,000 in Senior Utility Notes




      19-30088 Doc#
               Doc#
                                                                                                                                       Suite 28
                                                                                                                                  New York, NY 10022
                                                                                           Taconic Capital Advisors LP              280 Park Avenue                 $135,873,000 in Senior Utility Notes




               Doc# 3825-1
                    3812-4
                                                                                                                                        5th Floor                   $10,000,000 in Utility Revolver Loans
                                                                                                                                  New York, NY 10017                $25,000,000 in Utility L/C Reimbursement
                                                                                                                                                                    300,000 shares of PG&E Stock




                    3083 Filed:
                           Filed:
                                                                                                Third Point LLC                     390 Park Avenue                 $543,671,000 in Senior Utility Notes
                                                                                                                                  New York, NY 10022




                                     of
                                                                                               Värde Partners, Inc.            901 Marquette Avenue South           $879,828,000 in Senior Utility Notes




                           Filed:07/18/19
                                     of859
                                                                                                                                 Minneapolis, MN 55402              $21,486,655 in Utility Revolver Loans




                                        28
                                  09/06/19
                                                                                                                                                                    $12,500,000 in Utility L/C Reimbursement
                                                                                                                                                                    1,171,403 Short Positions in PG&E Shares




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        Exhibit D-3 – Certain PG&E Shareholders




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    Name and Address of PG&E
                                                             Disclosable Economic Interests
             Shareholder
 683 Capital Partners, LP                         PG&E Common Shares:                         1,950,000
 3 Columbus Circle, Suite 2205
                                                  Short Call Options:1                         100,000
 New York, NY 10019
                                                  Short Put Options:                           200,000
 Abrams Capital Management, LP, on                PG&E Common Shares:                     25,000,000
 behalf of certain funds and accounts
                                                  Subrogation Claims:                    $72,302,208
 222 Berkeley Street, 21st Floor
 Boston, MA 02116

 Anchorage Capital Group, L.L.C., on              PG&E Common Shares:                     23,290,000
 behalf of certain funds and accounts
                                                  Utility Bonds:                        $317,239,000
 610 Broadway, 6th Floor
 New York, NY 10012                               DIP Loan Obligations:2                 $22,500,000

 Caspian Capital LP, on behalf of                 PG&E Common Shares:                         3,674,375
 certain funds and accounts
                                                  Utility Preferred Shares:                    144,595
 10 East 53rd Street, 35th Floor,
 New York, NY 10022                               Utility Bonds:                         $48,138,000
                                                  DIP Loan Obligations:                  $10,000,000
                                                  PG&E Revolver:                          $1,464,886
                                                  PG&E Term Loan:                        $13,535,114
 Centerbridge Partners, L.P., on behalf           PG&E Common Shares:                         9,624,417
 of certain funds and accounts
                                                  Call Options (Long Position):                    600
 375 Park Avenue, 11th Floor
 New York, NY 10152                               Call Options (Short Position):               200,600
                                                  Utility Preferred Shares:                     80,884
                                                  Utility Revolver:                       $4,940,653
                                                  Utility Bonds:                        $297,338,000
                                                  Subrogation Claims:                    $47,968,767




       1
           Options are shown herein as exercisable shares.
       2
           DIP Loan Obligations include undrawn commitments, if any.



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Case:
Case: 19-30088
Case: 19-30088 Doc#
      19-30088 Doc# 3825-1
               Doc# 3812-4 Filed:
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     Name and Address of PG&E
                                                   Disclosable Economic Interests
              Shareholder
 D.E. Shaw Galvanic Portfolios,          PG&E Common Shares:                        7,120,718
 L.L.C., D.E. Shaw Kalon Portfolios,
                                         Call Options:                               564,300
 L.L.C., and D.E. Shaw Orienteer
 Portfolios, L.L.C.,                     Put Options:                                988,500
 1166 Ave. of the Americas, 9th Floor
                                         Utility Bonds:                        $27,000,000
 New York, NY 10036

 Fidelity Management & Research          PG&E Common Shares:                    12,461,820
 Company, on behalf of certain funds
                                         Utility Bonds:                       $298,000,000
 and accounts
 245 Summer Street
 Boston, MA 02210
 First Pacific Advisors, LP, on behalf   PG&E Common Shares:                        4,702,923
 of certain funds and accounts
 11601 Wilshire Blvd #1200
 Los Angeles, CA 90025

 Governors Lane LP, on behalf of         PG&E Common Shares:                        1,081,198
 certain funds and accounts
                                         Call Options:                               600,000
 510 Madison Avenue
 New York, NY 10022                      Utility Bonds:                        $64,025,000

 HBK Master Fund L.P.,                   PG&E Common Shares:                        2,024,614
 c/o HBK Services LLC
                                         Utility Bonds:                        $57,400,000
 2300 North Field Street, Suite 2200
 Dallas, TX 75201                        DIP Loan Obligations:                $125,000,000
                                         Utility Revolver:                    $236,555,694
                                         Utility L/C Reimbursement:            $91,691,780

 Knighthead Capital Management,          PG&E Common Shares:                    13,654,521
 LLC, on behalf of certain funds and
                                         Call Options:                              3,448,000
 accounts
 1140 Avenue of the Americas, 12th Fl    Utility Bonds:                        $51,760,000
 New York, NY 10036

 Latigo Partners, LP, on behalf of       PG&E Common Shares:                        1,735,000
 certain funds and accounts
                                         Call Options:                              1,000,000
 450 Park Avenue, 12th Floor
 New York, NY 10022                      Utility Bonds:                        $27,000,000




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     Name and Address of PG&E
                                                               Disclosable Economic Interests
              Shareholder
 Meadowfin, L.L.C.                                 PG&E Common Shares:                          5,000,000
 65 East 55th Street, 30th Floor
                                                   Utility Bonds:                         $480,236,000
 New York, NY 10022

 Monarch Alternative Capital LP, on                PG&E Common Shares:                          2,561,610
 its own behalf and on behalf of its
                                                   Utility Bonds:                          $21,254,000
 advisory clients3
 535 Madison Ave.
 New York, NY 10022

 MSD Partners, L.P., on behalf of                  PG&E Common Shares:                          2,676,554
 certain funds and accounts
                                                   Short Call Options:                          1,700,000
 645 Fifth Ave, 21st Floor
 New York, NY, 10022                               Short Put Options:                           1,000,000
                                                   Utility Bonds:                          $67,500,000
                                                   DIP Loan Obligations:                   $75,000,000
 MSD Capital, L.P.,                                PG&E Common Shares:                            57,233
 645 Fifth Ave, 21st Floor
 New York, NY, 10022

 Newtyn Management, LLC, on behalf                 PG&E Common Shares:                          2,929,485
 of certain funds and accounts
                                                   Call Options:                                 200,000
 60 East 42nd Street, Suite 960,
 New York, NY 10165

 Nut Tree Master Fund, LP, by its                  PG&E Common Shares:                          2,000,000
 investment advisor, Nut Tree Capital
 Management, LP
 Two Penn Plaza, 24th Floor
 New York, NY 10121

 Owl Creek Asset Management, L.P.,                 PG&E Common Shares:                          4,839,349
 on behalf of certain funds and
                                                   Subrogation Claims:                     $14,934,609
 accounts
 640 Fifth Avenue, 20th Floor
 New York, NY 10019




       3
           Disclosable economic interests held as of July 16, 2019.



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    Name and Address of PG&E
                                                Disclosable Economic Interests
              Shareholder
 Pentwater Capital Management LP, on PG&E Common Shares:                       4,573,200
 behalf of certain funds and accounts
                                      Net Short Utility Bonds:              $29,161,000
 614 Davis Street
 Evanston, IL 60201                   Net Exposure Equity
                                      Derivatives:4                          (3,760,000)
 Redwood Capital Management, LLC,                    PG&E Common Shares:                              12,981,393
 on behalf of certain funds and
                                                     Utility Bonds:                                $107,962,000
 accounts
 910 Sylvan Ave
 Englewood Cliffs, NJ 07632

 Sachem Head Capital Management                      PG&E Common Shares:                                4,575,000
 LP, on behalf of certain funds and
 accounts5
 250 West 55th St., 34th Floor
 New York, NY 10019
 Serengeti Asset Management LP, on                   PG&E Common Shares:                                1,000,000
 behalf of certain funds and accounts6
 632 Broadway, 12th Floor
 New York, NY 10012

 Silver Point Capital, L.P., on behalf of            PG&E Common Shares:                              13,565,173
 certain funds and accounts
                                                     PG&E Common Shares Swaps:                            958,827
 Two Greenwich Plaza
 Greenwich, CT 06830                                 Utility Bonds:                             $296,730,666.51
                                                     Subrogation Claims:                         $22,397,514.23
                                                     Trade Vendor Claims:                          $8,626,980.26
                                                     PG&E Revolver and Term                          $79,200,000
                                                     Loans:




         4
          Equity derivatives (long and short options and swaps) with various maturities and strike prices, net
exposure if executed, whether or not contracts have any intrinsic value presently.
         5
             Disclosable economic interests held as of July 18, 2019.
         6
             Disclosable economic interests held as of July 15, 2019.



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     Name and Address of PG&E
                                                                Disclosable Economic Interests
                Shareholder
 Steadfast Capital Management LP                   PG&E Common Shares:                           7,042,258
 (“SCM”), on behalf of certain funds,
 whether advised directly by SCM or
 an affiliate thereof
 450 Park Avenue, 20th Floor
 New York, NY 10022

 SteelMill Master Fund LP                          PG&E Common Shares:                           5,767,048
 c/o PointState Capital LP7
                                                   Long Call Options:                              50,000
 40 West 57th Street, 25th Floor
 New York, NY 10019                                Short Call Options:                            100,000
                                                   Utility Bonds:                          $353,985,000
 Stonehill Capital Management LLC,                 PG&E Common Shares:                           4,279,971
 on behalf of certain funds
                                                   Short Position:                                525,000
 885 Third Ave., 30th Floor
 New York, NY 10022                                Utility Preferred Shares:                      796,633
                                                   Utility Bonds:                           $28,464,000
 Warlander Asset Management, LP, on                PG&E Common Shares:                           1,797,123
 behalf of certain funds and accounts
 250 West 55th Street, 33rd Floor
 New York, NY 10019

 York Capital Management Global                    PG&E Common Shares:                           3,533,082
 Advisors, LLC, on behalf of certain
                                                   Utility Bonds:                          $271,330,000
 funds and/or accounts managed or
 advised by it or its affiliates
 767 5th Avenue, 17th Floor
 New York, NY 10153




       7
           Disclosable economic interests held as of July 8, 2019.



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